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                        IN THE UNITED STATES DISTRICT COURT

                               FOR THE DISTRICT OF OREGON

                                    PORTLAND DIVISION


BENJAMIN JAY BARBER,

                      Plaintiff,                                          No. 3:22-cv-00134-MO

       V.                                                             ORDER TO SHOW CAUSE

UNITUS COMMUNITY CREDIT UNION,
REBECCA RICH,

                     Defendants.



MOSMAN,J.,

       On March 15, 2022, the Court granted Plaintiff's Motion for Leave to Proceed In Fonna

Pauperis. Order [ECF 9]. Plaintiff has failed to send in his summons to the Court. Therefore, per

Local Rule 41-2(a), IT IS ORDERED that Plaintiff must appear in writing within fourteen days

from the date of this order to show cause why this case should not be dismissed for want of

prosecution. If no appearance is made, this case will be dismissed.


       DATED this   -1;--day       of June, 2022.




1 - ORDER TO SHOW CAUSE
